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                 IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE DISTRICT OF SOUTH CAROLINA
                            CHARLESTON DIVISION

Kimmie Heaton,                      )              Civil Case No. 2:19-cv-00540-RMG-MGB
                                    )
                        Plaintiff,  )
       v.                           )
                                    )
                                    )
                                    )               REPORT AND RECOMMENDATION
                                    )               AND ORDER
Brian Stirling et. al.,             )
                                    )
                        Defendants. )
___________________________________ )

      This action has been filed by the Plaintiff, a state prisoner proceeding pro se and in forma

pauperis, pursuant to 42 U.S.C. § 1983, alleging she suffered an unnecessary hysterectomy in

2004 at Palmetto Health Hospital in South Carolina while she was incarcerated in the South

Carolina Department of Corrections (“SCDC”). (Dkt. No. 15 at 9.) Currently before the Court is

Defendant Dr. Sharon Eden’s (“Dr. Eden”) initial Motion to Dismiss (Dkt. No. 47), her renewed

Motion to Dismiss (Dkt. No. 77), and Plaintiff’s Motion to Appoint an Expert. (Dkt. No. 90).

Defendant Dr. Sharon Eden was previously identified as John Doe by Plaintiff. Pursuant to the

provisions of Title 28, United States Code, Section 636(b)(1) and Local Rule 73.02(B)(2)(e),

D.S.C., all pretrial matters in cases involving pro se litigants are referred to a United States

Magistrate Judge for consideration. As discussed further below, the undersigned denies Plaintiff’s

Motion to Appoint and Expert and recommends Dr. Eden’s Motions to Dismiss be granted in part

and denied in part.

                                           BACKGROUND

      This action arises from an alleged unnecessary hysterectomy that Plaintiff underwent in

2004. (Dkt. No. 15 at 9.) Specifically, the Complaint alleges

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         On or about mid-2004, Plaintiff was referred to Camille Graham Correctional
         Gynecology Clinic as a result of abdominal pain and/or excessive bleeding.
         Plaintiff saw Patricia Carney, M.D., in October of 2004. Plaintiff was informed and
         believes that Defendant Carney was under contract with Defendant Stirling and
         SCDC, by and through her employment with Palmetto Health Hospital. Defendant
         Carney performed an[] examination on the Plaintiff and informed her that she had
         endometriosis and recommended a total hysterectomy. After executing all of the
         appropriate paperwork, Plaintiff underwent a complete and total hysterectomy in
         December of 2004. In June, 2018, the Plaintiff obtained her medical records.
         During an extensive examination of those records, Plaintiff discovered that she had
         been unnecessarily sterilized and that she had not had endometriosis or any other
         debilitating illness which required a blatant, intrusive, major medical procedure
         such as a wrongful sterilization. As a result of the wrongful sterilization, Plaintiff
         has suffered and will continue to suffer for the remainder of her lifetime with issues
         relating to hormonal, estrogen, and other medical problems. The injuries and
         damages are permanent in nature and cannot be repaired.

(Id.)

         Defendant Dr. Eden is one of the many named Defendants in this action. Plaintiff also

brings claims against various SCDC employees as well as other employees of Palmetto Health.

The Complaint alleges that Defendant Dr. Eden was, “at the time of the improper surgery in this

case, acting as the supervisor in charge of gynecological surgery at Palmetto Health Hospital.”

(Id.) The Complaint alleges that Dr. Eden, inter alia, allowed “a complete unnecessary sterilization

of Plaintiff when no current diagnostic tests were performed to determine necessity of

sterilization”; “knew the extensive danger that complete sterilization would impose upon a 27 year

old female, with no children”; and failed “to warn Plaintiff that a permanently disabling surgery

was going to be performed upon her without medical evidence of its necessity, so that she could

make an informed decision as to whether she wanted to undergo the surgery.” (Id. at 23–24.) The

Complaint alleges claims under the Fourteenth Amendment, the Eighth Amendment, and S.C.

Code Ann. § 15-78-60, as well as claims for “deliberate indifference,” and “gross negligence.” (Id.

at 7.)




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       Plaintiff filed this action on February 22, 2019. (Dkt. No. 1.) On August 27, 2019, a Motion

to Dismiss was filed on behalf of John Doe, asserting, inter alia, lack of proper service. (Dkt. No.

47.) On October 2, 2019, defense counsel communicated with the Court that “it appears John Doe

is Dr. Sharon Eden” and provided Dr. Eden’s last known address. The Court directed that service

be attempted on Dr. Eden and held in abeyance the Motion to Dismiss until after service was

attempted. (Dkt. No. 63.) Defendant Dr. Eden has now been properly served (Dkt. No. 75), and

she has filed a renewed Motion to Dismiss (Dkt. No. 77). In her motion, Dr. Eden relies on the

previous memorandum of law and affidavit she filed with the Court as the basis for dismissal.

(Dkt. Nos. 47; 76; 77.) On December 17, 2019, Plaintiff filed a Motion to Appoint an Expert,

asking the Court to appoint an expert “for an expert-based affidavit and/or testimony.” (Dkt. No.

90.) The motions have been fully briefed and are ripe for review.

                                           DISCUSSION

       Dr. Eden argues for dismissal on the basis that: (1) Plaintiff failed to file a notice of intent

with an expert affidavit in support of her alleged medical malpractice claim; (2) Plaintiff has failed

to sufficiently allege any claims under 42 U.S.C. § 1983; and (3) any claims alleged by Plaintiff

are barred by the applicable statute of limitations and statute of repose. The undersigned considers

the claims alleged by Plaintiff, below.

       A.      Medical Malpractice Claim

       Dr. Eden asserts that Plaintiff’s claim for medical malpractice fails because she has not

provided the requisite expert affidavit and because the claim is barred by the applicable statute of

repose. (Dkt. Nos. 47; 77.) South Carolina law requires plaintiffs asserting medical malpractice

claims to file “as part of the complaint an affidavit of an expert witness which must specify at least

one negligent act or omission claimed to exist and the factual basis for each claim.” S.C. Code §



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15-36-100; see also S.C. Code § 25-79-125(A). Complaints without the required affidavit must be

dismissed. S.C. Code § 15-36-100(C)(1). “Multiple judges within this district . . . have held . . .

Section 15-36-100 [is] part of the substantive law of South Carolina and, consequently, appl[ies]

to actions filed in federal court.” Grant v. United States, Case No. 3:17-cv-0377-CMC, 2017 WL

2265956, at *9 (D.S.C. May 24, 2017).

        Here, there is no dispute that Plaintiff did not file an expert affidavit with her Complaint,

nor has she filed such an affidavit while the instant action has been pending. Rather, Plaintiff has

filed a Motion to Appoint an Expert—she asks that the Court appoint an expert “for an expert-

based affidavit and/or testimony.” (Dkt. No. 90.) However, “[t]he court does not appoint experts

for plaintiffs in civil cases,” and there are no compelling circumstances such that the Court would

otherwise appoint an expert here. Ford v. Ozmint, No. CA 1:13-1618-JFA-SVH, 2014 WL

1093106, at *3 (D.S.C. Mar. 18, 2014) (denying pro se plaintiff’s request to appoint an expert to

support medical malpractice claim) (citing Boring v. Kozakiewicz, 833 F.2d 468 (3d Cir. 1987)

(upholding the district court’s denial of a civil plaintiff’s request for funds to pay an expert medical

witness and observing that neither 28 U.S.C. § 1915 nor any other authority provides for such

funding)); Sanchez-Angeles v. United States, No. CIVA 7:07-CV-00596, 2008 WL 2704309, at *6

(W.D. Va. July 10, 2008) (“[A] district court should appoint an expert to aid an indigent party only

in ‘compelling circumstances.’”), aff’d, 318 F. App’x 166 (4th Cir. 2009).

        Thus, Plaintiff’s Motion to Appoint an Expert (Dkt. No. 90) is denied, and her medical

malpractice claim must be dismissed because Plaintiff has not provided the required affidavit of

an expert witness,. 1 See, e.g., Craig v. United States, Case No. 216-cv-03737-TMC-MGB, 2017



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 A dismissal for failure to comply with S.C. Code 15-36-100 is without prejudice. See Rodgers v. Glenn, 2017 WL
1051011 (D.S.C. Mar. 20, 2017) (citing Rotureau v. Chaplin, No. 2:09-1388-DCN, 2009 WL 5195968, at *6 (D.S.C.
Dec. 21, 2009)).

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WL 6452412, at *3 (D.S.C. Nov. 6, 2017), (dismissing medical malpractice claim because plaintiff

“has not filed an affidavit of an expert witness”), adopted by, 2017 WL 6408968 (D.S.C. Dec. 15,

2017); Gamez-Gonzalez v. United States, Case No. 4:14-2668-JMC-TER, 2017 WL 3084488, at

*3 (D.S.C. May 17, 2017) (dismissing medical malpractice claim “because it has no supporting

affidavit”), adopted by, 2017 WL 3067974 (D.S.C. July 19, 2017).

        Moreover, even if Plaintiff could provide the requisite affidavit, this claim would still be

barred by the six-year statute of repose set forth in S.C. Code Ann. § 15-3-545(A). More

specifically, § 15–3–545 provides that an action for medical malpractice must be commenced

within “six years from date of occurrence, or as tolled by this section.” The South Carolina

Supreme Court has found that this six-year period “constitutes an outer limit beyond which a

medical malpractice claim is barred, regardless of whether it has or should have been discovered.”

Hoffman v. Powell, 380 S.E.2d 821, 821 (S.C. 1989). Subsection (D) of 15–3–545 provides a

limited tolling provision, applicable only to minors.

        Here, Plaintiff filed this action on February 22, 2019, almost fifteen years after the

hysterectomy at issue. (Dkt. No. 15 at 9.) She was not a minor at the time of the surgery, and

therefore, the tolling provision in § 15-3-545(D) does not apply. Accordingly, Plaintiff’s medical

malpractice claim is barred by the six-year statute of repose. See Langley v. Pierce, 438 S.E.2d

242, 243 (S.C. 1993) (finding equitable tolling of a statute of repose for medical malpractice suits

is not available, even though the court has previously upheld tolling in similar situations involving

statutes of limitations).

        B.      42 U.S.C. § 1983 Claims

        Dr. Eden next disputes that the Amended Complaint sufficiently alleges any claims under

42 U.S.C. § 1983. She argues that, regardless, any such claims are barred under the applicable



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statute of limitations. Here, the Amended Complaint alleges that Dr. Eden, inter alia,: (1) allowed

“a complete unnecessary sterilization of Plaintiff when no current diagnostic tests were performed

to determine necessity of sterilization”; (2) “falsif[ied] reports and documentation about Plaintiff’s

condition to arbitrarily impose a life altering procedure; (3) “act[ed] in a deliberate, indifferent

manner towards Plaintiff, who is a vulnerable person”; and (4) “fail[ed] to institute regulations

and/or procedures which would require employees of this Defendant’s contracted medical services

to confirm, either by separate opinion or through records, that any life altering procedures

performed on vulnerable persons, such as Plaintiff, is absolutely necessary.” (Dkt. No. 15 at 23.)

         Given these allegations and the severity of the injury alleged (an unnecessary

hysterectomy), the undersigned recommends that, at the dismissal stage, Plaintiff has sufficiently

alleged claims against Dr. Eden for deliberate indifference and for violation of Plaintiff’s

constitutional right to procreation under § 1983. 2 See Miltier v. Beorn, 896 F.2d 848, 851 (4th Cir.

1990) (“To establish that a health care provider’s actions constitute deliberate indifference to a

serious medical need, the treatment must be so grossly incompetent, inadequate, or excessive as to

shock the conscience or to be intolerable to fundamental fairness.”); M.C. v. Aaronson, No. 2:13-



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  Here, the undersigned recognizes that Defendant has submitted an affidavit with her Motion to Dismiss, averring
that she had no personal involvement in Plaintiff’s medical care, diagnosis, or treatment. (Dkt. No. 76-1.) It appears
this affidavit is offered in support of Dr. Eden’s arguments for dismissal under Rule 12(b)(6), Fed. R. Civ. P.
Accordingly, consideration of this evidence would convert the instant Motion to Dismiss to one for summary
judgment. Given that the Court has not yet entered a scheduling order and Plaintiff has not had an opportunity to
undertake any discovery, the Court will not consider the affidavit at this time. See, e.g., Occupy Columbia v. Haley,
738 F.3d 107, 116 (4th Cir. 2013) (“In resolving a motion pursuant to Rule 12(b)(6) or Rule 12(c), a district court
cannot consider matters outside the pleadings without converting the motion into one for summary judgment.”);
Harrods Ltd. v. Sixty Internet Domain Names, 302 F.3d 214, 244 (4th Cir. 2002) (“Generally speaking, ‘summary
judgment [must] be refused where the nonmoving party has not had the opportunity to discover information that is
essential to his opposition.’”); Zavolta v. Henderson, No. 5:11-cv-55, 2011 WL 1790492, at *2 (N.D.W. Va. May 10,
2011) (“Affidavits are documents outside the pleadings and this Court must convert the motion to dismiss to a motion
for summary judgment if it is to consider the plaintiffs’ affidavits.”) (citing Fed. R. Civ. P. 12(d)).




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cv-01303-DCN, 2013 WL 11521881, at *5 (D.S.C. Aug. 29, 2013) (denying motion to dismiss

claim that “defendants violated [plaintiff’s] clearly established constitutional right to procreation”

where plaintiff alleged that defendants “removed [plaintiff’s] male reproductive ability” in

performing sex reassignment surgery), rev’d and remanded sub nom. M.C. ex rel. Crawford v.

Amrhein, 598 F. App’x 143 (4th Cir. 2015) (reversed on grounds that defendants were entitled to

qualified immunity because “reasonable officials in 2006 did not have fair warning that they were

violating [plaintiff’s] clearly established rights by not seeking a hearing before performing, or

consenting to, the sex assignment surgery”).

       Moreover, the undersigned cannot find that the applicable statute of limitations bars these

§ 1983 claims at this stage in the proceedings. There is no statute of limitations for actions under

§ 1983, but it is well settled that the limitations period for § 1983 claims is determined by the

analogous state law statute of limitations for a personal injury claim. Wallace v. Kato, 549 U.S.

384, 387 (2007). In South Carolina, the general statute of limitations for personal injury claims is

codified in S.C. Code Ann. § 15–3–530(5), which provides that the statute of limitations is three

years for “an action for assault, battery, or any injury to the person or rights of another, not arising

on contract and not enumerated by law.” Accordingly, the applicable statute of limitations for a

§ 1983 claim arising in South Carolina is three years. See Owens v. Okure, 488 U.S. 235 (1989);

Ward v. Parole, Probation, and Pardon Bd., 2007 WL 3377163 (D.S.C. 2007); Rowe v. Hill, 2007

WL 1232140 (D.S.C. 2007); Huffman v. Tuten, 446 F. Supp. 2d 455 (D.S.C. 2006). This statute of

limitations is informed by the “discovery rule,” wherein “the statute of limitations [only] begins to

run from the date the injured party either knows or should know, by the exercise of reasonable

diligence, that a cause of action exists for the wrongful conduct.” True v. Monteith, 489 S.E.2d

615, 616 (S.C. 1997); see also Nasim v. Warden, Maryland House of Corr., 64 F.3d 951, 955 (4th



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Cir. 1995) (“Under federal law a cause of action accrues when the plaintiff possesses sufficient

facts about the harm done to him that reasonable inquiry will reveal his cause of action.”).

       Here, Plaintiff filed this action on February 22, 2019. (Dkt. No. 1.) The hysterectomy at

issue occurred in December of 2004. (Dkt. No. 15 at 9.) Almost fifteen years passed before Plaintiff

filed this action. Plaintiff alleges she obtained her medical records in June of 2018 and only

thereafter “discovered that she had been unnecessarily sterilized.” (Id.) In a grievance submitted

with her Amended Complaint, Plaintiff states, “I had to request my medical records from Palmetto

Health. I did this when I was questioned by the Nurse Practitioner at Camille as to why I had been

on the hormone therapy for so long and she couldn’t find anything in my records as to why. This

[led] to me finding out I had been sterilized by SCDC unnecessarily.” (Id. at 29.) Also, in her

response to Dr. Eden’s Motion to Dismiss, Plaintiff alleges that “Defendants hid and covered up

this assault from the Plaintiff.” (Dkt. No. 91 at 5.) She further alleges that she “solely relied on

SCDC and its agents to maintain her safety and the accuracy of her medical file.” (Id. at 2.)

       Based on the foregoing, it appears that the discovery rule may be an issue—Plaintiff

essentially argues the statute of limitations did not begin to run until she obtained her medical

records from Palmetto Health in June of 2018, approximately six months before she filed this

lawsuit. Accordingly, the undersigned cannot hold as a matter of law that Plaintiff’s § 1983 claims

are barred by the statute of limitations. See Isioye v. Coastal Carolina Univ., No. 4:17-cv-3484-

RBH-TER, 2018 WL 6682795, at *4 (D.S.C. Nov. 30, 2018) (“Only when all the facts necessary

for a statute of limitations defense ‘clearly appear on the face of the complaint’ can the court grant

a motion to dismiss on that basis” (quoting Goodman v. Praxair, Inc., 494 F.3d 458, 464 (4th Cir.

2007)), adopted by, 2018 WL 6676296 (D.S.C. Dec. 19, 2018).




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       Accordingly, dismissal is not appropriate on Plaintiff’s § 1983 claims for deliberate

indifference and for violation of Plaintiff’s constitutional right to procreation.

                                          CONCLUSION

       For the foregoing reasons, the undersigned recommends GRANTING IN PART and

DENYING IN PART the Motions to Dismiss (Dkt. Nos. 47; 77). Plaintiff’s medical malpractice

claim should be dismissed with prejudice because it is barred by the applicable statute of repose;

or, in the alternative, this claim should be dismissed without prejudice because Plaintiff has not

provided the required affidavit of an expert witness. Plaintiff’s § 1983 claims for deliberate

indifference and for violation of Plaintiff’s constitutional right to procreation should proceed.

       IT IS SO RECOMMENDED.

       The undersigned DENIES Plaintiff’s Motion to Appoint Expert. (Dkt. No. 90.)

       IT IS SO ORDERED.



January 9, 2020

Charleston, South Carolina




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         Notice of Right to File Objections to Report and Recommendation

       The parties are advised that they may file specific written objections to this Report
and Recommendation with the District Judge. Objections must specifically identify the
portions of the Report and Recommendation to which objections are made and the
basis for such objections. “[I]n the absence of a timely filed objection, a district court
need not conduct a de novo review, but instead must ‘only satisfy itself that there is no
clear error on the face of the record in order to accept the recommendation.’” Diamond v.
Colonial Life & Acc. Ins. Co., 416 F.3d 310 (4th Cir. 2005) (quoting Fed. R. Civ. P. 72
advisory committee’s note).

       Specific written objections must be filed within fourteen (14) days of the date of
service of this Report and Recommendation. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b);
see Fed. R. Civ. P. 6(a), (d). Filing by mail pursuant to Federal Rule of Civil Procedure 5
may be accomplished by mailing objections to:

                                Robin L. Blume, Clerk
                             United States District Court
                                 Post Office Box 835
                           Charleston, South Carolina 29402

       Failure to timely file specific written objections to this Report and
Recommendation will result in waiver of the right to appeal from a judgment of the
District Court based upon such Recommendation. 28 U.S.C. § 636(b)(1); Thomas v.
Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); United States v.
Schronce, 727 F.2d 91 (4th Cir. 1984).
